Case 1:17-cv-00448-JDB Document 34-1 Filed 03/14/19 Page 1 of 7

Karen Evans

From: Monica Chappell

Sent: Thursday, May 31, 2018 12:42 PM
To: Karen Evans

Cc: Marla Peterson

Subject: FW: Williams v. CNMC - records

AttachToSmartAdvocateNumber:
211864829

Monica L. Chappell
Paralegal

The Cochran Firm

1100 New York Ave, NW
Ste. 340, West Tower
Washington, DC 20005
(202) 682-5800 (office)
(202) 408-8851 (facsimile)

From: Deese, Crystal S. [mailto:cdeese@JacksCamp.com]
Sent: Wednesday, January 31, 2018 2:24 PM

To: Mackinney, Julie Anne; Karen Evans; Monica Chappell
Subject: RE: Williams v. CNMC - records

Thank you JAM. CSD

From: Mackinney, Julie Anne

Sent: Wednesday, January 31, 2018 2:23 PM

To: 'KEvans@CochranFirm.com’; ‘Monica Chappell
Cc: Deese, Crystal S.

Subject: Williams v. CNMC - records

Dear Ms. Evans and Ms. Chappell,

] understand Ms. Evans emailed Ms. Deese saying portions of the CNMC records are missing. The material she identified
is included in the records we previously provided. Nursing notes for the 10/3/14 ED visit at UMC are at CNMC ER 186
and onward. You can find additional RN assessments in the Adm. record beginning at page 0174. Orders begin on
CNMC Adm. 0100. Some of the medications from that visit are in the CNMC Adm. record — at page 166. There are
some more medications in the ER record at page CNMC ER 208.

For the 10/4/14 admission to CNMC, nursing notes begin on page CNMC Adm. 021, vitals are on page CNMC Adm. 034,
orders appear at page CNMC Adm. 113, 1&Os are on page CNMC Adm. 0201, and the MAR begins on page CNMC
Adm. 167.

There is the issue of the one urine culture from 8/5/13. The deponents on Thursday (Drs. Augustine and Abrams) did not
order that or write about it. We do not possess that urine culture. We have asked the client to see if it can be located
and/or exists.

, PLAINTIFF’S
Julie Anne MacKinney EXHIBIT

od

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JACKSON & CAMPBELL, P.C.
1120 20th Street, N.W. | Suite 300 South

Washington, D.C. 20036
Office: 202. 457.4271 | Fax: 202.478.1754

jmackinney@jackscamp.com

Case 1:17-cv-00448-JDB Document 34-1 Filed 03/14/19 Page 3 of 7

Karen Evans

From: Mackinney, Julie Anne <JMacKinney@JacksCamp.com>

Sent: Thursday, February 15, 2018 8:43 AM

To: Karen Evans; ‘Scott.sroka@usdoj.gov'; Deese, Crystal S.; Howard-Nicolas, Diona
Cc: Monica Chappell

Subject: Williams v CNMC & US

Attachments: CNMC 8.5.13 labs.pdf

Dear Ms. Evans and Mr. Skroka,

Please find attached Supplemental Document Production of CNMC lab results from the 8/5/13 ED visit . This production

is Bates stamped #:
CNMC 0243a-d

Please let me know if you have any trouble opening the file.

Julie Anne MacKinney

JACKSON & CAMPBELL, P.C.

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Washington, D.C. 20036

Office: 202. 457.4271 | Fax: 202.478.1754
jmackinney@jackscamp.com

Case 1:17-cv-00448-JDB Document 34-1 Filed 03/14/19 Page 4 of 7

08/09/2013 Children's Hospital, Washington, De 20010 CUMULATIVE SUMMARY
OO: 26 Divigion of Laboratory Medicine PAGE 1
Jogeph M. Campos, PhD, Chief

NAME:

Hi 3 0203528199 LOG; UED ROOM: AGE: SEX: M
HOSP; CHW

ACOT: 13217-02690 DRr MORRISON, SEPHORA N CODE: 50715

RPRERA RRR RRARE RAR KE ARAK ER AA REAR EK EE ARK ARES MICROBIOLOGY URINARY TRACT RESULTS FAARA TARA ERA ERR RACKS E EAE RRA EKRAR KER AR ERED
08/05/2013 UMC Urine Culture & Gram Stain

b 2202 Am, NO: M31417 TRANSPORT TIME: 9.5 Final 03/06/2013
Specimen: Urine (clean catch)
Extra Information: Nong
Result: xs URINE COLONY COUNT ORG 1: 40,000 (uc }
2. Enterococcus faecalis Meditech Accession Number: (uc)

2013:M001 00555
Additional Test Resu( YMECOZ }

a Entececoccus faecalis Meditech Accession Number: 2013:M00i00555

DRUG MICS INTERP
UG/ML
Amoisi) lar ss (uc)
Ciprofloxacin 88 {uC}
rychromycin 53 (Uc}
Levofloxacin ss {uc}
Wicrofurantoin 89g {UC}
Penicillan 35 {UC}
muprastin/dalio A uc}
Telracyel ine K fu}
fiyecyoline ss Luc}
Vangomyorn 88 fue}
VEER ORE RR th aR KALA EK ANA re REE UMC LABORATORY TESTING . CHEMISTR KE ARNE HKAR TR ENA t KEK RTT EKA
08/08/13
t 2302 UMC Urinalysis, Complerve
UM Urine Appearance (UC) 08/05/2013, 23: 38

Clear

<<RESULTS CONTINUED ON NEAT PAGE?>

FOOTNOTES-—--

luc} Performed by United Medical Center, 1310 Southern Ave, SE, Washington, DC 20632, (202) 574, 6550,
CONTINUED PAGY 1]

98/09/2019 90:26 OUTPATIENT MEDICAL BECURNS COPY
Case 1:17-cv-00448-JDB Document 34-1 Filed 03/14/19 Page 5 of 7

08/09/2013 Children's Hospital, Washington, DC 20010 CUMULATIVE SUMMARY
00:26 Division of Laboratory Medicine PAGE 2
Joseph M, Campos, Phd, Chief

NAME:

Hi +: 620358199 Lec: VED ROOM: AGE: SEX: M
HOSP; CHW

ACCT: 13217-02699 DR: MORRISON, SEPHORA N CODE: $0715

*t*++ UMC LABORATORY TESTING - CHEMISTRY ******
UMC Urinalysis, Complete<<CONTINUED FROM PREVIOUS PAGE>>

Reference range: Clear

UM Urine Color Yellow {uc} 08/05/2013,23:38
Reference range: Yellew

UM Urine Specific Gravity (UC} 08/05/2013, 23:33
1.915
Reference range: 1,005

to 21.030

UM Urine pH *118.0 {UC} 08/05/2013, 23:38
Reference range: & to 7

IM Urine Protein “Trace {UC]) 08/05/2013, 23:38

CONFIRMED WITH SSA
Reference range: <1C Lo

NEG
UM Urine Glucose {UC} 96/95/2013, 23:38
NEGATIVE
Reference range: Negative
UM Urine Ketone 2+ {UC} 08/05/2013, 23:38

CONFIRMED WITH ACETES'T
Reference fame; Nejative

UM Urine Bilicubin *2+ {UC} 08/95/2613, 23:38
CONFIRMED WITH TOPO
Reference ramye: Negative

UM Urine Blood {UC} 08/05/2013,23:38
NEGATIVE
Reference range: Negative

(M Urine Leukocyte Bsterase {UC} GB/05/2013,23:38

NEGATIVE
Reference range: Negative

UM Urine Nitrite {uc} 08/65/2013, 23:38
Negative
Reference range: Negative

UM Urine Urobilinogen {UC} 08/05/2013,23:36
1.0

<<RESULTS CONTINUED ON NEXT PAGE>>

--- FOOTNOTES --—-
i

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(202) 574.
Case 1:17-cv-00448-JDB Document 34-1 Filed 03/14/19 Page 6 of 7

08/09/2013 Children's Hospital, Washington, DC 20010 CUMULATIVE SUMMAR’
00:26 Division of Laboratory Medicine PAGE

Joseph M. Campos, PhD, Chief

NAME: :

H# 3 620358199 Loc; VED ROOM: AGE? SEX: M
HOSP: CHW

AcCT: 13217-02690 DR: MORRISON, SEPHORA N CODE: 50715

kek UMC LABORATORY TESTING - CHEMISTRY ******

UMC Urinalysis, Complcte<<CONTINUED FROM PREVIOUS PAGE>>

Reference range: 0.2 to
1.0
UM Urine WBC ai {UC} 08/05/2013,23:38
Reference range: 0
UM Urine REG *O-2 {UC} 08/05/2013,23:36

Reference range: 0

UM Squamous Epithelial Cells {UC} 68/05/2013, 23:38
* Few
Reference range: Negative

UM Urine Mucus *Pew {UC} 98/05/2013, 23:38
Reference range: Negative

UM Urine Bacteria {UC} 08/05/2013,23:38
Negative
Reference range: Negative

UMC ACC NO URINALYSIS {UC} G8/05/2013,23:37

Meditech Accession
Number: 0805;uU0cO0O102S

---FOOTNOTES---
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pe 20032, (202)574.6550,

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Case 1:17-cv-00448-JDB Document 34-1 Filed 03/14/19 Page 7 of 7

08/09/2013 Children's Hospital, Washington, DC 20010 CUMULATIVE SUMMAR*
00:26 Division of Laboratory Medicine PAGE ¢
Joseph M. Campos, PhD, Chief

NAME:

H# +: 020358199 LOC: UED ROOM: AGE: SEX: M
HOSP: CHW

ACCT: 13217-02690 DR: MORRISON, SEPHORA N CODE: 50715

JO yoke doekiokdoek STAT ORDER APPENDIX #8 ee Re Kk kk ok ek kk kk ey

COLLECT
DATE TIME TEST NAME CREDITED
08/05/13 2302 UMC Urine Culture & Gram
2302 UMC Urinalysis, Complete
2302 Additional Test Resuits
10/04/07 1810 Other Bacterial Culture
11/01/03 0002 CBC/Complete Blood Count
ooa2 WBC Differential
07/02/03 1807 Other Bacterial Culture

END OF REPORT PAGE «
